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                         REBUTTAL EXPERT REPORT OF RON AMASS

          I have reviewed the Report of Francis A Stanisz dated September 29, 2017 and

   provide the following in rebuttal.

          Introduction

          The scope of my rebuttal is limited. I have not endeavored to review all of the

   documents Mr. Stanisz cited on pages 2 and 3 of his report. Thus, I am not in a position

   to comment upon the factual basis of his criticisms of the site grading and the construction

   of the house . Even assuming his factual criticisms are true, however, I disagree with

   certain of his stated opinions, as set forth herein.

          Rebuttal Opinions

          1.     Mr. Stanisz's fundamental opinion is that "the condition of the house, at the

   time of purchase by Butterworth and Smith should be considered normal and expected

   for this 50-year old house." Stanisz Report at p.20.

          I strongly disagree. As a contractor with more than 30 years of experience in

   residential construction and with almost a decade of experience as a home inspector, it

   never should "be considered normal and expected " for any house to have the level of

   water intrusion that this house had at the time Prima Partners purchased it. Water is one

   of the most destructive forces on a house, and regardless of the age of a house water

   intrusion should be stopped. Most prudent people react immediately when water is seen

   entering a home. From the repairs made around the house it is apparent that the owners

   in this case made several attempts to stop the water, but all were band aids and water

   continued to enter the house seasonally.




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          2.     Mr. Stanisz further opines that "[t]he vast majority of people have no idea

   that a problem exists until wall/ceiling/exterior wall finishes are removed to expose the

   guts of the structure ." Stanisz Report at p.14.

          Regarding this opinion , I agree that it is not reasonable to expect that Mr.

   Butterworth or Dr. Smith reasonably could have discovered any of these issues during

   the limited walkthroughs they were afforded prior to Closing . I also agree that it is not

   reasonable to expect that a home inspector, like me, could have discovered these latent

   issues given a one-time access to the house for a standard home inspection. Indeed,

   this is why the question of whether there are "Moisture and/or water problems" is featured

   prominently in the first section of the required Colorado Seller's Property Disclosure. This

   is precisely the kind of latent problem that a buyer and his/her inspector cannot readily

   determine before closing.

          I disagree , however, with the conclusion that people such as the Waterhouses

   would have had no idea there were water intrusion problems with the house. To the

   contrary, given the extent of water intrusion problems Mr. Stanitz describes in his report,

   I would expect that the Waterhouses , who had owned the house for nearly 20 years ,

   would have had knowledge over that period of time that water intrusion problems existed .

   And, in fact, it is my understanding that the record shows, and that the Waterhouses have

   admitted, that they were aware of a number of instances of water intrusion during the time

   they owned the house and that they attempted to take steps to address the problems.

          It is also my understanding that an individual named Steven Schwartzreich has

   attested under oath that in 2013 he was given an opportunity to walk through the house

   and that he reported "seeing and commenting upon substantial water staining on the



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   drywall on at least the western wall of the lower level of the House ." See Declaration of

    Steven Schwartzreich at ,I 5. The serious water intrusion issues described in the Stanisz

    Report is entirely consistent with and would clearly support the existence of visible water

    staining on drywall in the house such as that Mr. Schwartzreich reportedly witnessed in

    2013 .



    October 27 , 2017




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